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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DENISE M. WATTS,

       Plaintiff,

v.                                                           Case No. 8:11-cv-1771

NATIONAL ENTERPRISE SYSTEMS, INC.,

      Defendant.
__________________________________________/

                                  NOTICE OF SETTLEMENT

       Plaintiff, by and through undersigned counsel, hereby files this Notice of Settlement,

stating that the parties have reached an agreement in principal with regard to this case and are

presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of the same, the parties will file the appropriate dismissal documents with the Court.

                                                     Respectfully submitted,

                                                     /s/ Joseph B. Battaglia
                                                     Joseph B. Battaglia, Fla. Bar No.: 0058199
                                                     joe@brandonlawyer.com
                                                     THE GOLDEN LAW GROUP
                                                     808 Oakfield Drive, Suite A
                                                     Brandon, Florida 33511
                                                     Telephone: (813) 413-8700
                                                     Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 24th day of September 2011, a true and correct copy

of the foregoing has been electronically provided to: Melanie L. Frankel, Esq.,

mfrankel@sdtlawyers.com.

                                                     /s/ Joseph B. Battaglia
                                                     Joseph B. Battaglia, Fla. Bar No.: 0058199
